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UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF COLORADO
Bankruptcy Judge Sid Brooks

In re:

Bankruptcy Case No.
GARY DAVID HAUCK and lO-30894-SBB
BRENDA KAY HAUCK, Chapter 7
Debtors.

 

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AUG \8.

S. BANKRUPTCY COURT

 

 

 

 

STEPHANIE M. MARTIN,

 

 

 

 

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Plaintiff, E\STF“CT 0\= coLORADO
V. Adversary Proceeding No.

l 0-01 8 SSSBB
GARY DAVID HAUCK and
BRENDA KAY HAUCK,
Defendants.

DEBTORS/DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT
PURSUANT TO F.R.B.P. 7056 AND MEMORANDUM IN SUPPORT

Debtors/Defendants Gary D. Hauck and Brenda K. Hauck (collectively, the
“Haucks”), by and through their attorney Kerri J. Atencio and Jeremy A. Sitcoff of the
law firm of ROBERTS LEVIN ROSENBERG PC, respectfully request that the Court grant
them judgment as a matter of law in their favor With respect to Creditord)laintiff
Stephanie Martin’s obligation to prove in the context of this adversary proceeding that

the Haucks’ debt to her is non-dischargeable, as set forth beloW.

I. INTRODUCTION AND BACKGROUND
As can be gleaned from the various filings in this Court, the Haucks have
described being caught up in a real estate deal With Creditor/Plaintiff Stephanie Martin

that Went bad. For reasons that may never be fully appreciated, the Haucks’ efforts to

 

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help Ms. Martin get out of debt in 2006 and to keep her home from being foreclosed upon
turned into an ugly dispute between long-time friends. When the Haucks requested Ms.
Martin sign the promissory note on the second deed of trust as being “paid-in-full,” they
intended to show the true state of affairs: that the Haucks did not in fact owe Ms. Martin
any money for the purchase of her home but instead were leasing it back to her in an
amount that ensured they were not out of pocket any money for the monthly mortgage
obligations that they incurred in obtaining the home loan. In essence, Ms. Martin
continued to make the mortgage payments for the home after the Haucks purchased it _
the only difference was the Haucks were acting as a pass-through for those funds instead
of Ms. Martin making them directly to a lender.

It appears that Ms. Martin saw the Haucks’ actions as an attempt to strip her of
any right that she would still have to the property in the event the Haucks tried to sell it
from underneath her in breach of their lease agreement which gave Ms. Martin the right
to repurchase at a date certain. Ms. Martin subsequently filed suit in Jefferson County
District Court, Case No. 2007-cv-2646 (the “Underlying Action”) and asserted claims for
EXtreme and Outrageous Conduct, Deceit Based on Fraud, Civil Conspiracy, Civil Theft,
and Constructive Trust. The default judgment that Ms. Martin initially obtained was set
aside upon motion of the Haucks, and then the parties agreed to mediate the case through
the Hon. Kim H. Goldberger on May 6, 201().

At the conclusion of the litigation, Ms. Martin had agreed to accept payment of
$200,000 to resolve all outstanding claims against the Haucks. Ms. Martin attempted to
secure payment of that amount by insisting that it be entered into the court record for the

Underlying Case as a stipulated judgment The Stipulation signed by the parties

 

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indicated that the stipulated judgment would enter only on the deceit and civil theft
counts. See EXhibit A. The remaining claims were to be dismissed with prejudice See
Exhibit B. The Stipulated Judgment reflecting the aforementioned terms was
subsequently entered. See Exhibit C.

The Haucks have no memory of any part of the mediation including a discussion
about judgment being entered on only the two fraud-based claims. Exhibit D, jj 4.l No
one asked the Haucks to admit that they committed fraud against Ms. Martin or asked
them to confess to the any of the facts alleged in Ms. Martin’s complaints. EX. D, jj 5 .
At no time did the Haucks relinquish their rights with respect to filing for the protections
of the Bankruptcy Code. EX. D, jj 6. Hence, neither the Stipulation nor the Stipulated
Judgment recites any admission of liability on the part of the Haucks or reflects any other
form of agreement that the Haucks would refrain from asking the bankruptcy court to
discharge the debt created by the Stipulated Judgment. See EX. A, C.

Thus the sole question that is placed before the Court is, what are the legal
consequences of a settlement under these circumstances T 0 wit: does the pre-petition
settlement of civil claims - not all of which are based on fraudulent conduct ~ through the
entry of a stipulated judgment on the fraud-based claims result in the non-dischargability
of that debt as a matter of law when there has been no admission of liability by the
debtor. Or, rather, does the entry of a stipulated judgment on fraud-based claims in the
absence of admitted liability for fraud preserve the right of the debtor to defend himself
in an adversary proceeding in bankruptcy court in which a creditor seeks to prevent the

debt from being dischargeable pursuant to ll U.S.C. § 523(a)(2)(A).

 

1 A notarized copy of the Affidavit will be submitted on August 19, 2011.

 

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II. L.B.R. 7056-1

A. (l) Statement of Burden of Proof.

The issues of law raised in this motion and memorandum do not involve any
party’s burden of proving any claim, and thus this section appears to be unnecessary.
However, as the party who appears to be asserting that collateral estoppel or res judicata
operates to determine that the Haucks’ debt is non-dischargeable under Section 523(a)(2),
(4), or (6), such a burden ought to be placed on Ms. Martin. See e.g., Bebo Const. C0. v.
Mattox & O’Brien, P.C., 990 P.Zd 78, 85 (Colo. 1999);

B. (2) Elements Of The Claim(s) That Must Be Proved To Prevail.

Resolution of the issues of law in this motion do not require proof of elements of
any claim. To the extent the Court concludes that collateral estoppel (issue preclusion) or
res judicata (claim preclusion) are “claims” at issue in this motion, the elements are as
follows. For a claim in a second judicial proceeding to be barred by a previous judgment,
there must be: “(l) finality of the first judgment, (2) identity of subject matter, (3)
identity of claims for relief, and (4) identity or privity between parties to the actions.”
Argus Real Estate, Inc. v. E-47O Pub. Highway Auth., 109 P.3d 604, 608 (Colo. 2005).
Issue preclusion, on the other hand, applies when: “’(l) the issue previously decided is
identical with the one presented in the action in question, (2) the prior action has been
finally adjudicated on the merits, (3) the party against whom the doctrine is invoked was
a party, or in privity with a party, to the prior adjudication, and (4) the party against
whom the doctrine is raised had a full and fair opportunity to litigate the issue in the prior
action.”’ Park Lake Res. Ltd. Ll`ab. V. U.S. Dept. ongr., 378 F.3d 1132, 1136 (10th Cir.

2004) (citation omitted).

 

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3. Undisputed Material Facts.

To the extent that any of the following are relevant to the Court’s determination of
the legal issues addressed below, the Haucks contend they are undisputed or indisputable

1. A settlement of the Underlying Case occurred on May 6, 2010.

2. The settlement was embodied in the Stipulation dated May 6, 2010 and
which is attached as Exhibit A.

3. Judgment was entered on the Stipulation by the Court on May 14, 2010
and a copy of the same is attached as Exhibit C.

4. The Stipulation was drafted by Ms. Martin or her attorneys

5. Judge Kim H. Goldberger mediated the Underlying Case.

6. The Haucks maintained at the mediation that they had not done anything
wrong or fraudulent with respect to Ms. Martin but settled because they were told and
believed they had no choice, they decided to settle.

7. The Haucks have no recollection of being told by Judge Goldberger prior
to signing the Stipulation that the settlement amount would be allocated to the claims
asserted by Ms. Martin for “deceit based on fraud” and “civil theft.”

8. At no time did Judge Goldberger inform the Haucks that Ms. Martin
wanted the judgment to be allocated to these two claims so that we would not be able to
have the debt discharged in bankruptcy at some point in the future or that the effect of the
allocation would be to preclude discharge.

9. At no time during the mediation did the Haucks agree to admit to any
liability to Ms. Martin for fraud, to admit any of the factual allegations in the pleadings,

or to admit that they had committed fraud against Ms. Martin.

 

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10. Had Judge Goldberger told the Haucks that as a condition of settling the
Underlying Case they would have to admit to wrongdoing in any form to Ms. Martin,
they would have refused to sign the Stipulation.

ll. At no time during the mediation were the Haucks asked to, nor did they
agree, to give up their rights to seek bankruptcy with respect to the Stipulation or
Stipulated Judgment.

12. The Haucks would have refused to enter into any settlement of the
Underlying Case that would have required them to give up their rights to file for
bankruptcy or to have the Stipulation / Stipulated Judgment discharged in bankruptcy.

13. The Haucks filed their petition in bankruptcy in August 2010.

III. LEGAL ARGUMENT

A Debtor Preserves His Right To Defend Himself` Against Claims Under §

523(a)(2),(4), or (6) When He Enters Into A Pre-Petition Settlement Of Civil

Fraud-Based Claims Without Admitting Liability Or Facts Constituting

Fraud.

Equity and the law dictate that when a debtor enters into a pre-petition settlement
of fraud claims that results in the entry of a stipulated judgment, the debtor must be
allowed to defend himself in bankruptcy court against any allegation that the debt is non-
dischargeable pursuant to Section 523(a)(2), (4), or (6) when he has not admitted liability
nor any facts constituting fraud. A private settlement agreement cannot serve as the basis
for applying preclusion principles in subsequent litigation, and a stipulated judgment
cannot be used as res judicata to preclude subsequent litigation unless the agreement
underlying the judgment so provides. Alternatively, the Stipulation and Stipulated

Judgment are nothing more than failed attempts to get the Haucks to reaffirm their debt to

her according to Section 524(c).

 

 

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For these reasons, Ms. Martin must still prove that the Haucks’ debt represented
in the Stipulation and Stipulated Judgment was procured by fraud in order for that debt to
be non-dischargeable

A. A Private Settlement Can Never Be Used For Collateral Estoppel

Purposes, And The Stipulation And Stipulated Judgment Establish
That Res Judicata Does Not Apply To The Issue Of Whether The Debt
To Ms. Martin Was Procured By Fraud.

Ms. Martin has previously taken the general position that the Stipulation and
Stipulated Judgment bar the Haucks from contesting the dischargeability of that debt in
this bankruptcy proceeding While not specified as either an argument for the application
of collateral estoppel or res judicata, neither principle allows Ms. Martin to avoid her
burden of proving in this adversary proceeding that the debt owed to her by the Haucks
Was procured by fraud or the product of willful and malicious injury. See e.g., ]n re
Ethria'ge, 80 B.R. 581, 586 (Bankr. l\/l.D. Georgia 1987) (“A creditor seeking to have a
debt determined to be nondischargeable under section 523 bears the burden of proving
each element by clear and convincing evidence.”).

A private settlement agreement such as the Stipulation does not constitute a final
judgment and thus it cannot be the basis for asserting either collateral estoppel or res
judicata In re Dormell, 2011 WL 2294186, * 3 (Bankr. D.Colo. June 8, 2011) (reciting
elements of claim preclusion and holding debtor could not rely on settlement of
underlying arbitration to preclude plaintiff from establishing non-dischargeability in
subsequent section 523(a)(2)(A) proceeding); see also, Irza’ustrial Com’n of Slate v.

Mojj‘at County School Dist. RE No. ], 732 P.2d 616, 619-20 (Colo. 1987) (reciting final

judgment on the merits is an element of collateral estoppel); Ferris v. Bakery,

 

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Confectiorzery and Tobacco Uru'on, Local 26, 867 P.2d 38, 42 (Colo.App.1993) (claim
preclusion only applies to final judgments, not settlements); 18A Wright & Miller,
Federal Practice & Procedure, § 4443, n. 6 (2d. ed. 2011) (matters resolved by
stipulation are not actually litigated for purposes of analyzing preclusive effects).

Unless the Stipulated Judgment itself can be the basis of collateral estoppel or res
judicata, then, Ms. Martin is not excused from having to prove in this adversary
proceeding that the debt is non-dischargeable Archer v. Warner, 538 U.S. 314, 322-23,
123 S.Ct. 1462, 1467-68 (2003) (court of appeals could determine on remand the state
law issue of whether collateral estoppel prevented plaintiffs from challenging
dischargeability in subsequent bankruptcy proceeding); In re Audley, 275 B.R. 383, 387
(10th Cir. 2002) (applying Missouri’s collateral estoppel law to determine that debtor
precluded from relitigating in adversary proceeding the findings by the state court of
fraudulent conduct); In re Valencia, 280 B.R. 520 (Bankr. D.Colo. 2002) (pre-petition
settlement of sexual harassment claims and entry of judgment thereon did not operate to
preclude litigation of non-dischargeability of that debt under Section 523(a)(6)).
However, whether the Stipulated Judgment has any preclusive effect depends on the
Stipulation: “Even a stipulated judgment or consent judgment is entitled only to the
preclusive effect manifested by the parties’ intent as expressed in the plain language of
the settlement agreemen .” Dormell, supra at *3, citing O’Nez'l v. Wolpo/j‘ & Abramson,
L.L.P., 210 P.3d 482, 484 (Colo. App. 2009) (when previous judgment was entered based
on parties’ settlement, analysis of preclusive effect of judgment is determined by terms of

the settlement). “The basically contractual nature of consent judgments has led to

 

 

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general agreement that preclusive effects should be measured by the intent of the parties.”
Wright & Miller, 18A Fed. Prac. & Proc. Juris. § 4443 (2d ed.).

Here, the plain language of the Stipulation does not provide that the agreement
between the Haucks and Ms. Martin will have any preclusive effect. The document does
not contain an admission of liability by the Haucks, or reflect that the Haucks were
admitting any facts at all (let alone any facts constituting fraud or willful and malicious
injury). ln that respect, their consent to entry of the judgment on the two fraud-based
claims does not constitute an admission of liability for fraud. In re Minor, 115 B.R. 690,
697 (Bankr. D. Colo. 1990). Thus, the Stipulation conforms to the Haucks’
understanding and belief that they were not admitting any wrongdoing of any kind
towards Ms. Martin by entering into the settlement of the Underlying Case, nor deciding
in any way any issue involving the their right to file for the protections of the Bankruptcy
Code with respect to the Stipulated Judgment. See Ex. D. While it may have been Ms.
Martin’s secret hope that the Stipulation could be used in the future to prevent the Haucks
from being able to discharge the debt, the fact of the matter is that the Stipulation does
not contain any evidence of a mutual intent that the Haucks would not be able to defend
themselves against Ms. Martin’s objection to the discharge

The consequence of the foregoing is that the Haucks are entitled to present
evidence in the context of this bankruptcy proceeding in support of their defenses to the
Complaint Obj ecting to Discharge of the Debtors and/or to Determine Dischargeability of
Certain Debts, namely that they did not engage in fraud or other willful and malicious
injury to Ms. Martin. See also, Brown v. Felsen, 442 U.S. 127, 99 S.Ct. 2205 (1979) (res

judicata not applicable in adversary proceeding so bankruptcy court not limited to

 

 

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reviewing consent judgment and record from state court lawsuit when deciding issues of
dischargeability); Ethridge, 80 B.R. 587 (holding that to make determination of whether
debt was non-dischargeable under section 523(a)(2)(A) or (a)(2)(B), court was required
to make “independent findings regarding the factual basis underlying the initial incurring
of the debt evidenced by the consent judgment” when that judgment did not contain any
findings of fact or state that it was to have preclusive effect). Accord, In re Tsamasj@ros,
940 P.2d 605 (10th Cir. 1991) (applying collateral estoppel to bar debtor in adversary
proceeding from relitigating fraud issues of fact and findings made by state court after 4-
day bench trial); Audley, 275 B.R. at 386-87 (debtor precluded by collateral estoppel
from relitigating dischargeability following two-day state court trial and findings that
debtor violated consumer protection laws).

Allowing debtors to defend themselves in adversary proceedings when they have
not previously admitted facts or liability for claims that would trigger the exceptions to
discharge in Sections 523(a)(2), (4), or (6) is also consistent with various policies
implicating bankruptcy law. Just as “the mere fact that a conscientious creditor has
previously reduced his claim to judgment should not bar further inquiry into the true
nature of the debt[,]” Brown, 442 U.S. at 138, an innocent debtor should not be denied
the “fresh start” allowed by the Bankruptcy Code simply because he has also had the
foresight to recognize the risks of proceeding to trial in state court and electing to
eliminate those risks in favor of agreeing to pay a sum certain to settle all claims
(dischargeable and otherwise). lt is the forum of the bankruptcy court in which Congress
intended to have decisions about the dischargeability of debts decided, not in state court

“at a time when nondischargeability concerns ‘are not directly in issue and neither party

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has a full incentive to litigate them.”’ Archer, 538 U.S. at 321, quoting Browrz, 442 U.S.
at 134. This case proves to be an example of just such policy considerations; the Haucks
have stated that they were not concerned or faced with deciding or resolving
dischargeability issues when they executed the Stipulation at the mediation. See Ex. D.

For these reasons, judgment as a matter of law must be granted in favor of the
Haucks and against Ms. Martin on the argument that Ms. Martin remains ubligated to
prove non-dischargeability in this action.

B. The Stipulation And Stipulated Judgment Are Invalid Attempts To

Secure A Reaffirmation Agreement Under Section 524(c) Or
Constitute Void Pre-Petition Waivers.

In addition or alternatively, the Stipulation is void and unenforceable as a means
of determining the dischargeability of the debt in this Court. The Stipulation was not
drafted by the Haucks, their attorney, or Judge Goldberger. See Ex. D.2 To the extent
Ms. Martin attempts to use it or the Stipulated Judgment to prevent the Haucks from
defending themselves in this adversary proceeding, then, those documents are nothing
more than a scarcely cloaked attempt to extract a reaffirmation agreement or a waiver
from the Haucks.

Reaffirmation agreements are governed by Section 524(c) and when that section’s
requirements are not met, the agreement is unenforceable and will not result in the
preclusion of the debtor from litigating dischargeability in the bankruptcy court. See e.g.,
Minor, 115 B.R. at 694-95 (pre-trial, pre-petition settlement of fraud claims with
agreement that debtor would not seek to discharge the debt in bankruptcy court was

governed by Section 524(0)). This rule works to protect debtors from being unduly

 

2 In a telephone conference on August 10, 2011 with the undersigned, Judge Goldberger represented that he
was not responsible for crafting the language of the Stipulation.

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pressured into executing reaffirmation agreements with their creditors. ]d. at 694. Ms.
Martin will undoubtedly fail to persuade the Court with any suggestion that the
Stipulation / Stipulated Judgment satisfies the strictures of Section 524(c). Accordingly,
Section 524(c) preserves the Haucks’ right to defend themselves against Ms. Martin’s
claim of non-dischargeability

Moreover, the Stipulation/Stipulated Judgment cannot constitute a waiver of the
dischargeability of the Haucks’ debt to Ms. Martin. Settlement agreements entered into
prior to the filing of a bankruptcy petition which purport to waive the benefits of a
bankruptcy discharge are void and unenforceable See Irl re Cole, 226 B.R. 647, 651
(B.A.P. 9th Cir. 1998); In re Trump, 309 B.R. 585, 593 (Bankr. D.Kan. 2004).

IV. CONCLUSION

The Haucks cannot be denied a defense in this adversary proceeding simply
because they chose to make a business decision in May 2010 to settle the state law claims
asserted against them by Ms. Martin. Neither collateral estoppel nor res judicata endows
the Stipulated Judgment with preclusive qualities in light of the fact that nowhere in the
Stipulated Judgment is any language indicating that the parties intended the settlement to
have preclusive effect or that the Haucks admitted to liability or facts constituting fraud
or willful and malicious injury. Use of the Stipulation / Stipulated Judgment to prevent
the Haucks from maintaining a defense to Ms. Martin’s allegations constitutes an
unenforceable attempt to extort a pre-petition reaffirmation agreement, or a void pre-
petition bankruptcy waiver.

WHEREFORE, for the foregoing reasons, Gary D. Hauck and Brenda K. Hauck

respectfully request that the Court enter judgment in their favor as a matter of law

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pursuant to L.B.R. 7056-1 in accordance with the proposed Order attached herewith for

filing

Dated this 18th day of August 2011.

Re?{wrun/s biilitted,

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RoBERTs LEvIN RosENBERG PC
1660 Wynkoop Street, Suite 800
Denver, Colorado 80202

(303) 575-9390

(303) 575-9385

kja@robertslevin.com

ATTORNEY FOR DEBTORS/
DEFENDANTS GARY DAVID HAUCK
AND BRENDA KAY HAUCK

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CERTIFICATE OF SERVICE

l hereby certify that on this 18th day of August 2011, a true and correct copy of the
foregoing DEBTORS/DEFENDANTS’ CROSS-MOTIONS FOR SUMMARY
JUDGMENT PURSUANT TO F.R.B.P. 7056 AND MEMORANDUM IN
SUPPORT was filed with the Clerk of the Court by HAND DELIVERY and served on
the following by the method indicated:

Darrell D. B. Damschen, Esq. (via U.S. Mail)
1536 Cole Blvd., Suite 335
Lakewood, CO 80401

Brenda Hauck (U.S. Mail)
Gary Hauck

P.O. Box 440740
Aurora, CO 80044-0740

difer

Nicole R. Peterson

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vs.
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Defendant
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The Parties agree as follows Dc¢d/vé¢.w€' 5¢-,@¢~4~¢¢ ¢L\ Si»e ,e.,,._¢-,,, /}
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Kim H. Goldberger, Mediator

 

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DISTRICT COURT, JEFFERSON COUNTY EFlLED D°c“me“t
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100 Jefferson County Parkway Filing II): 31026360
Golden, CO 80401__6002 Review Clerk: Imran Sufi
(303) 271-6110
Plaintiff:
STEPHANIE M. MARTI`N
v.
Defendants: ‘ COURT USE ()NLY *
GARY D. HAUCK and BRENDA K. HAUCK
Terrence P. Murray, #16127 Case Number: 2007-CV-2646
Darrell D. B. Damschen, #23146
Murray & Damschen, P.C. Div: l
Denver West Office Park

1536 Cole Boulevard, Building No. 4, Suite 335
Lakewood, Colorado 8040}

Phone: 303-274-7752 Fax: 303-274-7942
Terry@madlawfirm.com

REQUEST FOR ENTRY OF STIPULATED JUDGMENT

 

 

 

 

 

Plaintiff, Stephanie M. Martin, by and through the undersigned counsel, Murray &
Damschen, P.C., hereby requests that the Court enter Judgment for Plaintiff and against the
Defendants pursuant to an agreement reached by the Parties, stating therefore as follows:

1. On May 6, 2010, the Parties attended a mediation of this dispute with Kim I-I. '
Goldberger. Plaintiff was present and Was represented at the mediation by Terrence P. Murray
and Darrell D.B. Damschen of Murray & Damschen, P,C. Defendants were present and were
represented at the mediation by foyce M. Bergmann of Frascona Joiner Goodman & Greenstein,

P.C.

2. The Parties reached a resolution of their dispute and entered the “Stipulation”
attached as Exhibit A. The Stipulation was executed by each of the Parties and their respective
counsel

3. Pursuant to the Parties’ Stipulation, judgment shall enter for Plaintiff, Stephanie

M. Martin, and against the Defendants, Gary D. Hauck and Brenda K. Hauck, jointly and
severally, in the amount cf $200,000. Said Judgment shall enter specifically based on the
Plaintiff’s 2"d Claim for Relief, Deceit Based on Fraud, and 4“‘ Claim for Relief, Civil Theft
pursuant to C.R.S. §18-4-401, as those claims are stated in the Plaintiff’s First Amended
Complaint and Jury Demand, filed December 21, 2007.

EXH|B|T B

 

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4. The remaining ciaims asserted by the Plaintiff against Defendants are dismissed
with prejudice each party to pay their own attorney fees and costs.

5. A proposed judgment is filed herewith.

6. As set forth in the attached Stipulation, Defendants have further agreed to assign
to Plaintiff any and all interest that have, or may havc, in proceeds of the pending foreclosure sale
of the property located at 5821 West 7th Avenue, Lakewood, Colorado, which is the subject of
this civil action Said proceeds received by the Plaintit`f, if any, are to be credited against the
above described judgment

Respectfully submitted this 10"1 day of May, 2010.

MURRAY & DAMSC} IEN, P C.

fsrlgmal signafure”df`l'jarreil B"Damschen

By: on file at the law firm of Murray & Damschen. P.C.
Darreif D. B. Damschen
Attorney for Plaintiffs

CER'I`IFICATE OF SERVICE

i hereby certify that 1 served the foregoing document by transmitting a true copy thereof
via US Mail to the following on this 10“" day of May, 2010.

Gary D. Hauck
Brenda K. Hauck
2733 S. Salida Street
Aurora, CO 80013

Joyce M. Bergmann, Esq.

Frascona Joiner Goodrnan & Greenstein, P.C.
4750 Table Mesa Dr.

Boulder, CO 80305

 

 

 

 

 

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SO The moving party is hereby ORDERED
to provide a copy of this Order to any pro ` v O#}"
ORDERED se parties who have entered an
appearance in this action within 10 days
from the date of this order.

 

 

 

 

Lily W. Oei`fler

Jeiferson District Court Judge
D]STRICT COURT’ JEFFERSON COUNTY’ DATE or oiu:-ER mchrED on ATrAcimENT
COLORADO

100 Jefferson County Parkway
Golden, CO 80401-6002
(303) 271-6110

 

 

 

 

 

 

 

Plainti{f:
STEPHAN[E M. MARTIN

v.
Defelldanfs: 1 COURT USE ONLY ‘

GARY D. HAUCK and BRENDA K. HAUCK

 

 

Tenence P. Murray, #16127 Case Number: 07-CV-2646

Darrell D. B. Damschen, #23146
Murray & Damschen, P.C. DiV! 1
Denver West Office Park

1536 Cole Boulevard, Building No. 4, Suite 335
Lakewood, Colorado 80401

Phone: 303-274-7752 Fax: 303-274-7942
Terry@madlawfirm.com

 

 

JUDGI\IENT

 

 

 

This matter came before the Court on Plaintiff’s Request for Entry of Stipulated
Judgment. The Court, having reviewed the Parties’ Stipulation, hereby enters judgment against
Defendants Gary D. Hauck and Brenda K. Hauck, jointly and several ly, and in favor of Plaintiff
Stephanie M. Martin in the amount of $200,000.00, said entry of judgment being based upon
Plaintiff’ s 2nd Claim for Relief`, Deceit Based on Fraud, and 4‘h Claim for Relief, Civil Theft
pursuant to C.R.S. §18-4-401, as stated in the Plaintiii’s First Amended Complaint and Jury
Demand, filed December 21, 2007 .

DONE this day of May, 2010, nunc pro tunc, May 6, 2010.

 

District Court Judge

EXH|B|T C

 

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Court: CO Jefferson County District Court lst JD

Judge: Lily OeHler

File & Serve
Transaction ID: 31026360

Current Date: May 14, 20|0
Case Numher: 2007CV2646
Case Name: MARTIN, STEPHANIE M vs. HAUCK, GARY D et al
Court Authorizer: Lily Oeffler

 

/s/ Judge Lily Oefl'|er

 

 

 

 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO
Bankruptcy Judge Sid Brooks

 

In re: )
) Bankruptcy Case No.
GARY DAVID HAUCK and ) 10-30894-SBB
BRENDA KAY HAUCK, ) Chapter 7
Debtors. )
)
Last four digits of SS#: 3149 and 0812 )
)
)
)
STEPHANIE M. MARTIN, )
Plaintiff, )
)
v. ) Adversary Proceeding No.
) 10-0188-SBB
GARY DAVID HAUCK and )
BRENDA KAY HAUCK, )
Defendants. )

AFFIDAVIT OF GARY D. HAUCK AND BRENDA K. HAUCK

STATE OF COLORADO )

)
COUNTY 0F )

We, Gary D. Hauck and Brenda K. Hauck, hereby swear and affirm as follows:

1. We are the defendants in this adversary proceeding We Were also the
defendants in the civil case filed by Stephanie Martin in Jefferson County District Court,
case no. 07-cv-2646 (the “Case”).

2. The Case Was mediated by Judge Kim Goldberger on May 6, 2010. At
that time, a default judgment of more than $500,000 had been granted to Ms. Martin but
our attorney from time to time, Joyce Bergman, had been able to get it reversed.
Eventually an offer to settle for $200,000 Was made by Ms. Martin. Judge Goldberger
made it clear to us that it Was his opinion that if We did not settle for that amount, We
Would end up With a judgment of at least $500,000 against us.

3. We did not Want to settle the Case because We denied - and still do - that
We had done anything Wrong or fraudulent to Ms. Martin. But, We relied on What Judge
Goldberger told us and believed We had no choice but to settle, so We decided to make a
business decision to eliminate the risk of going to trial.

EXH|B|T D

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4. At no time during the mediation did the Judge tell us that the offer that
Ms. Martin’s attorneys Were making Was that this $2()(),00() judgment would be put on
the claims for “deceit based on fraud” and “civil theft.” At no time did the Judge tell us
that Ms. Martin Wanted the judgment to be allocated to these two claims so that We Would
not be able to have the debt discharged in bankruptcy at some point in the future. We did
not realize at the time We signed the Stipulation that it contained the wording about the
amount being allocated only to those two claims. (Exhibit l is a copy of the Stipulation.)

5. At no time during the mediation did we agree to admit to any liability to
Ms. Martin for fraud, to admit that we had done any of the acts that Ms. Martin accused
us of, or to admit that We had committed fraud against Ms. Martin in any Way. Judge
Goldberger never mentioned this at the mediation Had he said that as a condition of
settling the Case we Would have to admit to Wrongdoing in any form to Ms. Martin, we
Would have refused to sign the Stipulation.

6. At no time during the mediation did We agree to give up our rights to seek
bankruptcy With respect to any of our debts, including the judgment in the Case. Giving
up our rights to challenge any claim made by Ms. Martin that her judgment Was not
dischargeable in the bankruptcy court Was never discussed or mentioned by Judge
Goldberger at the mediation We Would have never agreed to any settlement of the Case
that Would have forced us to give up our rights to file for bankruptcy or to have the
judgment discharged in bankruptcy.

7. We did not Write the handwritten Stipulation and neither did our attorney,
Joyce Bergman. We assumed that Judge Goldberger prepared it.

Dated this _ day of August, 2011. /s/
Gary D. Hauck

 

/s/
Brenda K. Hauck

Subscribed and sworn to before me this _ day of August 2011, by Gary D.
Hauck and Brenda K. Hauck.

[SEAL]

 

Notary Public

 

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E| County Court 132/District Court

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Plaim"ff ' Case NO. 07"“6{/` 255/§
vs.
Di\/ision d-
Defendant
ST|PULAT|ON§

 

 

The Parties agree as follows Dc¢¢/<eQ-¢v’r S¢WL~¢L 94 9>\€ .,za..¢¢,, 0
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Plaintiff De1TléA" an

 

 

 

 

 

 

 

 

 

Attomey for Plaintiff

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CAttorr§ey for Deféndant "

/WAy 20 //2

Signed t 13 day of .
%MZ@/%@\ Me~<»e?»» w % haw
Kim H Goldberger, Mediator LWD`W/ Mf#qé %/%51

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